Case: 24-30091           Document: 47-1         Page: 1      Date Filed: 08/22/2024




          United States Court of Appeals
               for the Fifth Circuit                                   United States Court of Appeals
                                                                                Fifth Circuit

                                  ____________                                FILED
                                                                        August 22, 2024
                                   No. 24-30091                          Lyle W. Cayce
                                 Summary Calendar                             Clerk
                                 ____________

United States of America,

                                                                   Plaintiff—Appellee,

                                         versus

Jamario Montreal Harris,

                                           Defendant—Appellant.
                  ______________________________

                  Appeal from the United States District Court
                     for the Western District of Louisiana
                           USDC No. 5:17-CR-217-1
                  ______________________________

Before Haynes, Higginson, and Douglas, Circuit Judges.
Per Curiam:*
      The Federal Public Defender appointed to represent Jamario
Montreal Harris has moved for leave to withdraw and has filed a brief in
accordance with Anders v. California, 386 U.S. 738 (1967), and United States
v. Flores, 632 F.3d 229 (5th Cir. 2011). Harris has not filed a response. We
have reviewed counsel’s brief and the relevant portions of the record


      _____________________
      *
          This opinion is not designated for publication. See 5th Cir. R. 47.5.
Case: 24-30091      Document: 47-1       Page: 2   Date Filed: 08/22/2024




                               No. 24-30091


reflected therein. We concur with counsel’s assessment that the appeal
presents no nonfrivolous issue for appellate review. Accordingly, counsel’s
motion for leave to withdraw is GRANTED, counsel is excused from
further responsibilities herein, and the appeal is DISMISSED. See 5th
Cir. R. 42.2.




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